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 8                            UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                              October 2019 Grand Jury

11   UNITED STATES OF AMERICA,               CR   8:20-cr-00127-MWF

12               Plaintiff,                  I N D I C T M E N T

13               v.                          [18 U.S.C. § 1519: Destruction and
                                             Alteration of Records in a Federal
14   GUAN LEI,                               Investigation]
15               Defendant.

16

17         The Grand Jury charges:
18                                     COUNT ONE
19                                  18 U.S.C. § 1519
20         On or about July 25, 2020, in Orange County, California, within
21   the Central District of California, defendant GUAN LEI knowingly
22   altered, destroyed, mutilated, concealed, and covered up a record,
23   document, and tangible object, namely by destroying and discarding a
24   black 2.5-inch internal computer hard drive, with the intent to
25   impede, obstruct, and influence the investigation and proper
26   administration of a matter within the jurisdiction of the
27   ///
28   ///
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 1   Federal Bureau of Investigation, a department or agency of the United

 2   States, or in relation to or in contemplation of any such matter.

 3                                              A TRUE BILL
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 5
                                                       /S/
 6                                              Foreperson

 7
     NICOLA T. HANNA
 8   United States Attorney

 9

10
     CHRISTOPHER D. GRIGG
11   Assistant United States Attorney
     Chief, National Security Division
12
     ANNAMARTINE SALICK
13   Assistant United States Attorney
     Chief, Terrorism and Export
14   Crimes Section

15   WILLIAM M. ROLLINS
     GEORGE E. PENCE
16   Assistant United States Attorneys
     Terrorism and Export Crimes
17   Section

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